      Case 3:19-bk-30822 Doc 108-6 Filed 10/11/19 Entered 10/11/19 14:47:50 Desc
  Exhibit - F - Email between Earley and Stern Re: Settlement Agreement - Request Page 1 of 1

Stephen Stern

From:                              Ronald Earley <ronald.earley1 @gmail.com>
Sent:                              Wednesday, August 21,2019 7:25AM
To:                                Stephen Stern
Subject:                           Fwd: Tagnetics Bankruptcy




---------- Forwarded message---------
From: Ronald Earley <ronald.earleyl@gmail.com>
Date: Tue, Aug 20, 2019 at 5:13 PM
Subject: Tagnetics Bankruptcy
To: Jon Hager <pufferboater@gmail.com>, Ken Kayser <drkwkayser@gmaiLcom>



Stephen,

I met with the lawyer at 3 pm today.

Here are a few points he made.

1. General release language is standard and acceptable as long as we do not object to who is covered under the release.
IE. Compass Marketing

2. Agreement needs an acceleration clause if payments are not made on time.

3. Non compete clause in our contract is eliminated going forward. It currently is not clear.

4. Voluntary Dismissal of Bankruptcy Proceeding should be without prejudice so a case where we are not paid the future
payments we can file this Bankruptcy petition again.

5. A statement in this agreement that my $30,000 loan and Ken's issues are not effected by this agreement and stand on
their own.

Best regards,
Ronald E. Earley
Cell: 937-609-2825




                                                                                                           EXHIBIT

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